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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                 02/22/2023
JEEUN FRIEL, Individually and on behalf
of all others similarly situated,               21 Civ. 5837 (VM)

                        Plaintiff,              DECISION AND ORDER

                 - against -

DAPPER LABS, INC. and ROHAM
GHAREGOZLOU,

                        Defendants.


VICTOR MARRERO, United States District Judge.

     Lead Plaintiff Gary Leuis (“Leuis”) and named plaintiff

John Austin (“Austin”), individually and on behalf of all

others similarly situated (together, “Plaintiffs”) bring this

action against Dapper Labs, Inc. (“Dapper Labs”) and its Chief

Executive    Officer,     Roham       Gharegozlou   (“Gharegozlou”)

(together, “Defendants”), alleging that Dapper Labs violated

the securities laws by offering for sale to the public certain

non-fungible tokens (“NFTs”) known as NBA Top Shot Moments

(“Moments”) without filing a registration statement with the

Securities and Exchange Commission (the “SEC”). Plaintiffs

assert two causes of action: (1) violations by Dapper Labs of

Sections 5 (15 U.S.C. § 77e) and 12(a)(1) (15 U.S.C. § 77l)

of the Securities Act of 1933 (“Securities Act”) for the

unregistered offer and sale of a security, to wit, Moments

(“Moments”), sold on its NBA Top Shot application; and (2)



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violation of Securities Act Section 15 (15 U.S.C. § 77o)

against      Gharegozlou    as    control    person     liability     for       the

primary violations alleged in the first cause of action.

        Now before the Court is Defendants’ motion to dismiss

the     Amended   Complaint       (“AC”)    in   its    entirety     and    with

prejudice      pursuant    to     Federal    Rule      of   Civil   Procedure

12(b)(6) (“Rule 12(b)(6)”). (See “Motion,” Dkt. No. 37.) For

the reasons stated below, Defendants’ motion is DENIED.

                             I.      BACKGROUND

        A.    FACTUAL BACKGROUND 1

        Dapper Labs, founded by Gharegozlou, is a Vancouver,

Canada-based        corporation        that         develops        blockchain

technologies.       In    simplest    terms,      a    “blockchain”        is    a


1 The factual recitation set forth below, except as otherwise noted,
derives from the Amended Complaint (“AC”) (Dkt. No. 27), and the facts
pleaded therein, which the Court accepts as true for the purposes of
ruling on a motion to dismiss. The recitation is also based on the
documents incorporated in the AC and attached to the Declaration of Erin
Zatlin, attorney for Defendants, (see Dkt. Nos. 38, 40) for which
Defendants request, unopposed, that the Court take judicial notice. See
Spool v. World Child Int’l Adoption Agency, 520 F.3d 178, 180 (2d Cir.
2008) (citing GICC Capital Corp. v. Tech Fin. Grp., Inc., 282 F.3d 147,
152 (2d Cir. 2002)); see Staehr v. Hartford Fin. Servs. Grp., Inc., 547
F.3d 406, 425 (2d Cir. 2008) (“Although the general rule is that a district
court may not look outside the complaint and the documents attached
thereto in ruling on a Rule 12(b) motion to dismiss, we have acknowledged
that the court may also consider matters of which judicial notice may be
taken.” (quotation marks and citations omitted)); Fed. R. Evid. 201. To
the extent that the Court refers to and quotes from the documents
incorporated by reference into the AC and for which the Court takes
judicial notice, it does so only for the purpose of determining “what
statements the documents contain . . . [and] not for the truth of the
matters asserted.” Mosdos Chofetz Chaim, Inc. v. Vill. of Wesley Hills,
815 F. Supp. 2d 679, 691 (S.D.N.Y. 2011) (citing Kramer v. Time Warner
Inc., 937 F.2d 767, 774 (2d Cir. 1991)) (original alteration omitted).
Except where specifically quoted, no further citation will be made to the
AC or the documents referred to therein.



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decentralized digital ledger used to record and validate

transactions. As discussed in more detail below, after a

previous foray into developing blockchain-based assets on

other blockchains, Dapper Labs created its own, the Flow

Blockchain. Dapper Labs developed the Flow Blockchain as part

of    a    larger        so-called    Flow       Network,     which    would    host

applications         that     run    atop       and   whose    transactions         are

validated on the Flow Blockchain.

               1.        Blockchain Technology 2

          To   better        grasp      Dapper        Labs’s     business-model,

understanding the technical operation of a blockchain is

necessary.          As    already     mentioned,       a    “blockchain”       is     a

decentralized            digital    ledger. 3    Blockchains     may    be     either


2  Throughout this subsection, the Court references scholarly work
describing blockchains but only to the extent that it helps inform
Plaintiffs’ allegations. The Court does not weigh these statements for
the truth of the matters asserted therein. See Kramer v. Time Warner Inc.,
937 F.2d 767, 773-74 (2d Cir. 1991). In doing so, the Court takes “judicial
notice on its own” of the statements made in these scholarly writings.
Fed. R. Evid. 201(c)(1). It does so for two reasons. First, the Court
finds that statements regarding the scientific and technical operations
of blockchain technology generally are “not subject to reasonable dispute”
and come from “sources whose accuracy cannot reasonably be questioned.”
Id. 201(b); see also Christian v. Loyakk, Inc., No. 22 Civ. 215, 2023 WL
170868, at *1 (D. Wy. Jan. 12, 2023) (taking judicial notice on its own
on a motion to dismiss of scholarly articles not referenced in the
complaint describing blockchain and cryptocurrency). Second, because the
descriptions largely mirror those already made in the AC, and are not
taken for their truth, the Court finds they would not “create a point of
factual dispute.” Contra Tomasino v. Estee Lauder Cos., Inc., No. 13 Civ.
4692, 2015 WL 1470177, at *6 (E.D.N.Y. Mar. 31, 2015).
3 See also Jonathan Rohr & Aaron Wright, Blockchain-based Token Sales,
Initial Coin Offerings, and the Democratization of Public Capital Markets,
70 HASTINGS L.J. 463, 469 (2019) (“At their core, blockchains are
decentralized databases maintained by a network of computers. Using
public-private key cryptography and strict code-based rules -- known as



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public, like that underlying perhaps its most famous use-

case,       Bitcoin,       or   private,         like       Dapper     Labs’s         Flow

Blockchain. 4 While generally associated with the transfer of

digital currencies (often called cryptocurrencies, or crypto

for    short),        blockchains     can       be   used    not     only   to    store

information about the transfer of the currency but can also

be applied to record ownership of a wide variety of more

traditional assets, like stocks and bonds.

        Unlike    traditional         ledgers,        which    are     managed        and

validated        by    a   centralized          authority,         blockchains        are

distributed and decentralized. This structure offers greater

transparency as to ownership by being based on consensus as

to    the    accuracy      of   the   transactions           consummated         on   the

network. To reach consensus, embedded in each blockchain

platform is a software protocol, or consensus mechanism,

which provides governance standards over how information is

added to the blockchain. Blockchain-based transactions are



consensus mechanisms -- blockchains store tamper-resistant, resilient,
and authenticated data, enabling users to engage in pseudonymous
transactions.”).
4 See also Joseph D. Moran, The Impact of Regulatory Measures Imposed on
Initial Coin Offerings in the United States Market Economy, 26 CATH. U.
J.L. & TECH. 213, 222 (2018) (“Private blockchains use the same technology
as public blockchains, however, a single entity administers them. This
results in more control for the entity to restrict permission or allow
access to only approved, or invited users. Private blockchains are
attractive because they require less computational power to maintain a
given ledger and offer more privacy for transactions. Private blockchains
operate in a fully private space, such as a private server or cloud-based
environment.”).



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considered       more     secure       and     trustworthy          than        ledgers

controlled by centralized authorities, like a bank, because

adding, changing, or removing information from the blockchain

is made purposefully difficult, making it harder to falsify

a transaction or hack into the ledger itself. 5

        Unlike   a   bank    that      exercises    complete        control        over

validating any transaction on its ledgers, transactions on

decentralized blockchains must be validated by the network of

users. To encourage validation of the transactions on a

blockchain,       validators        (called      “miners”)          are     provided

incentives       often      in    the     form     of       cryptocurrency          or

cryptographic           tokens,        which      may        have         additional

functionality.       Blockchain         transactions        are     validated       by

miners through either “Proof of Work” or “Proof of Stake”

methods.

        For    example,     Bitcoin      operates       a    “Proof        of     Work”

blockchain. To generate a new “hash” (or ledger entry) for a

block     of   transactions       on    the    Bitcoin      blockchain,          miners

engage in a mathematical (i.e., cryptographic) guessing game



5 Rohr & Wright, supra note 3 at 471 (“[B]lockchain-based consensus
mechanisms make adding information to a blockchain purposefully difficult
and even harder to remove once saved, creating data that is hard to alter
once stored. Blockchain-based protocols groups sets of transactions into
blocks, which are linked together to form a sequentially ordered chain.
Before a block can be added to a blockchain, the protocol requires that
a valid cryptographic hash for a block (an encrypted representation of
the underlying transactional data) is generated.”).



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requiring their computers to, through brute-force computing,

guess the answer to an algorithm. 6 The miner who wins the

guessing game broadcasts the new hash to the network and,

once confirmed by other miners, is rewarded with Bitcoin for

their     efforts.    In    the    case    of   other    “Proof   of    Work”

blockchains, the miner would be awarded with a token or asset

associated with that blockchain, such as Ether, a crypto asset

associated with the Ethereum blockchain. “Proof of Work”

protocols consume large amounts of energy and computational

resources.

        “Proof of Stake” protocols require much less energy,

making them desirable for private blockchains looking to

scale quickly. “Proof of Stake” requires miners to “stake” or

lock up tokens or assets that they already own. Much like a

lottery system, miners with more tokens and a longer period

validating transactions on the network are selected by an

algorithm to validate new transactions. Once new transactions

are validated, the miner earns additional tokens as a reward.

              2.     CryptoKitties

        Moments    was     not    Dapper    Labs’s      first   foray   into

blockchain technology and crypto assets. In November 2017,


6 Id. at 471 (“The proof of work guessing game requires a computer to
repeatedly execute a hashing algorithm until the algorithm outputs a valid
hash with a sufficient number of leading zeros. Members of a blockchain-
based network (known as miners) play this proof of work guessing game and
expend computational resources to generate a valid hash.”).



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Dapper Labs released CryptoKitties, which was built on the

Ethereum blockchain, a public blockchain using a “Proof of

Work” protocol. CryptoKitties used Ethereum’s “smart contract

functionality . . . to allow users to breed and collect

digital cats with a variety of characteristics.” (AC ¶ 28.)

CryptoKitties were a hit. So much so that the volume of

activity, combined with Ethereum’s burdensome “Proof of Work”

validation,      overwhelmed    Ethereum’s     network,     causing    a

slowdown of all transactions on the network. (See AC ¶ 29.)

            3.    The Flow Blockchain

      Following    the   launch    of   CryptoKitties,     Gharegozlou

stated in an interview with USA Today that Dapper Labs had

started to work on a “scaling solution” for the business. (AC

¶ 31.) Dapper Labs announced that solution in September 2019

-- the development of its own private blockchain, Flow. The

Flow Blockchain uses “Proof of Stake” validation to allow the

business to scale more efficiently. Dapper Labs also created

a token, FLOW, which miners would be able to stake to validate

transactions. 7 Because FLOW tokens were used to validate


7 Much of Dapper Labs’s proprietary technology is named or relates to the

word “flow.” For clarity, the Court refers to the crypto-token as FLOW,
in all capitals, so as to distinguish it from the Flow Blockchain, which
refers to only the blockchain created and controlled by Dapper Labs. As
alleged by Plaintiffs, both FLOW and the Flow Blockchain, exist within
the so-called Flow Network, which includes the NBA Top Shot application
as well as other potential applications developed by Dapper Labs. To the
extent that it is alleged that all applications on the Flow Network run
atop the Flow Blockchain, those terms may by use interchangeably.



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transactions on the Flow Blockchain, FLOW are also “required

for . . . all the applications on top of [the Flow Blockchain]

to function.” (AC ¶ 37.) Dapper Labs’s website explained that

FLOW tokens could be used as “[p]ayment for computation and

validation services,” as a “[m]edium of exchange,” as a

“[d]eposit for data storage,” as “[c]ollateral for secondary

tokens,” and for “[p]articipation in governance.” (AC ¶ 38.)

     Dapper      Labs    created   1.25     billion    FLOW   tokens   in

September     2020      and   distributed    them     to   institutional

investors and the public between September 2020 and October

2020. Dapper Labs also set aside several million FLOW tokens

for “ecosystem development” to compensate its developers and

for other purposes, as well as reserving 250 million tokens

for itself. Dapper Labs raised around $18 million from the

sale of FLOW tokens. However, none of the nearly 13,000

investors who purchased FLOW were from the United States, and

FLOW tokens are not a registered security with the SEC. Yet,

by July 2021, FLOW tokens were internationally listed on

several of the major cryptocurrency exchanges. Dapper Labs

stated that “as more value is created on top of the Flow

[B]lockchain, more demand is generated for FLOW token.” (Id.)

            4.    NBA Top Shot and Moments

     Dapper Labs first announced its blockchain application,

NBA Top Shot, in July 2019 as a joint venture between itself,


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the National Basketball Association (“NBA”), and the NBA

Players Association (“NBAPA”). NBA Top Shot is a platform or

application, owned and operated by Dapper Labs and built on

top of the Flow Blockchain. The purpose of the NBA Top Shot

application   is   primarily   to       provide   a   platform   to   sell

“Moments,” the alleged security at issue in this action.

     Moments are NFTs. And NFTs are digital assets whose

authenticity and ownership can be recorded on a blockchain.

In this case, Moments are a digital video clip of highlights

from NBA games, such as a spectacular dunk or game-winning

shot. Dapper Labs creates (or, in crypto parlance, “mints”)

a game highlight into an NFT in collaboration with the NBA

and NBAPA, who, together with Dapper Labs, control which

highlights become Moments. The minting process prints the NFT

with a unique identifier or serial number. So, while Dapper

Labs may mint 1,000 copies of a certain basketball highlight

into a Moment, only one of each serial number exists, making

each Moment unique.

     The first “Moments” were made available to a “select

list of individuals” as part of a “closed beta” which took

place on June 15, 2020. (AC ¶ 52.) On October 1, 2020, Dapper

Labs launched an “open beta” for the NBA Top Shot application,

for the first time allowing the public to create an NBA Top




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Shot account, log-in, and purchase Moments. NBA Top Shot users

have been able to purchase Moments ever since.

      Ownership of a Moment is limited to only the NFT itself.

When a person purchases a Moment, the owner does not acquire

any rights to the basketball highlight depicted by the NFT or

the underlying artwork or other intellectual property, and

thus does not acquire any rights to exploit the highlight

without the express permission of the NBA, NBAPA, and Dapper

Labs. Accordingly, only the ownership of the Moment, as

opposed to the other embedded property, is recorded on the

Flow Blockchain.

      Moments can be acquired in two ways. First, Dapper Labs

sells “packs” of Moments on the NBA Top Shot application at

varying prices for the whole pack. Like a pack of basketball

cards, packs contain multiple Moments. Packs, however, are

not   always   available   for   purchase.   Instead,   Dapper    Labs

releases a limited number of packs during “drops.” Interested

purchasers wait in a virtual queue to buy packs when they

drop, and the packs often sell out. Supplies are limited and

not everyone who queues to purchase a pack during a drop may

successfully acquire the pack they want, or any pack at all.

      Each pack contains different Moments minted by Dapper

Labs. Like physical trading cards, the Moments within each

pack are random; purchasers do not know which Moments they


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will   receive     when     they     purchase     the   pack.    All   that   is

guaranteed is that certain packs will contain a certain number

of Moments with varying levels of scarcity.

       There are three tiers of packs generally available: (1)
       Common: nine common Moments, which have production of
       over 1,000 with no maximum; (2) Rare: seven common
       Moments and one rare Moment, with a maximum production
       of 999; and (3) Legendary: six common Moments, one rare
       Moment, and one legendary Moment, with a maximum
       production of 99.

(AC ¶ 56.) Dapper Labs and the NBA and NBAPA control which

highlights      are   designated       common,     rare,   or    legendary    by

deciding how many Moments of each highlight are minted.

       Additionally,        people    may   acquire      Moments    through    a

secondary marketplace, hosted on the NBA Top Shot application

and      created      and     controlled          by    Dapper     Labs   (the

“Marketplace”). In the Marketplace, Moments owners can re-

sell individual Moments they acquired in packs or that they

bought from other Moments owners. They may also gift Moments.

Ownership of the Moments, the price paid for the Moments, and

the transfer and sale of the Moments in the Marketplace are

all recorded on only the Flow Blockchain. Dapper Labs does

not recognize and does not endorse Moments being sold or

traded outside of the Marketplace.

       While packs may be purchased for as little as nine

dollars (see “Austin Certification,” Dkt. No. 27-1) -- or

gifted     by   Dapper      Labs,     in    the    cases   of    celebrities,


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influencers, or NBA players -- the Moments within each pack

may be considerably more valuable. One Moments owner, Michael

Levy, reportedly purchased Moments with a value of, at one

point, more than $15.6 million. And in February 2021, another

purchaser, Jesse Schwarz, set a record by purchasing a single

Moments NFT on the Marketplace for $208,000. Gharegozlou

himself owns Moments purportedly worth over $10 million. (See

AC ¶ 102.) By late February 2021, Dapper Labs’s combined

market capitalization from sales of Moments on the NBA Top

Shot application had reached $1.9 billion.

     Dapper Labs generates revenue from the sale of Moments

in three ways. First, Dapper Labs receives revenue reportedly

in the tens of millions of dollars from the sale of packs.

Second, Dapper Labs receives a five percent transaction fee

anytime Moments are sold on the Marketplace. Third, Dapper

Labs, which maintains a digital wallet, called a “Dapper

Wallet,” for all users to facilitate payments, also takes a

“cash-out fee” when purchasers transfer their balance from

the Dapper Wallet to their bank account. (See id. ¶ 66.)

     Moments purchasers who sought to withdraw their cash off

of the NBA Top Shot application have not always been able to

do so, nor has it been quick. On March 26, 2021, Dapper Labs

published on the NBA Top Shot website that withdrawals would

first be enabled in six to eight weeks. (See id. ¶ 95.) Once


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enabled,     Dapper    Labs   stated      that    withdrawals    would    be

“processed within 21 days but others may take 40 days or

more.” (Id.) Not all persons on the NBA Top Shot platform had

withdrawal     capabilities        enabled       by   Dapper    Labs,    and

Plaintiffs allege that, even once Dapper Labs enabled the

functionality, many were not able to withdraw their funds.

     Plaintiffs’      putative     class     includes    individuals     who

purchased Moments between June 15, 2020, and the present.

According to Dapper Labs, as of April 2021, more than 800,000

people used the NBA Top Shot platform to purchase Moments.

Many thousands of those purchasers fall within the putative

class. Dapper Labs has not filed any registration statement

for the sale of Moments with the SEC at any point.

     B.      PROCEDURAL HISTORY

     On May 12, 2021, plaintiff Jeeun Friel filed a putative

class action complaint in the Supreme Court of the State of

New York, New York County. On July 7, 2021, Dapper Labs

removed the action from the state court pursuant to 28 U.S.C.

Sections 1332, 1441, 1446, and 1453. (See Dkt. No. 4.) On

August 11, 2021, Dapper Labs requested that the Court suspend

the deadline to respond to the Complaint until Plaintiffs had

complied with the requirements of the Private Securities

Litigation    Reform    Act   of    1995     (“PSLRA”),    including     the

Court’s appointment of a Lead Plaintiff in the case. (Dkt.


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No. 11.) On October 5, 2021, Plaintiff Gary Leuis moved,

unopposed, to serve as Lead Plaintiff. (See Dkt. Nos. 20-22.)

And   on   October     8,    2021,    the   Court   granted   that   motion,

appointed Leuis as Lead Plaintiff and approved The Rosen Law

Firm, P.A. as Lead Counsel. (See Dkt. No. 23.)

      On October 22, 2021, the Court granted the parties’ joint

request for an extension of time for Plaintiff to file an

Amended Complaint and for Defendants to respond. (See Dkt.

No. 26.) Plaintiffs filed their Amended Complaint on December

27, 2021. (See Dkt. No. 27.)

      On    January    27,    2022,    Defendants    filed    a   pre-motion

letter     addressed    to    Plaintiffs,     pursuant   to   the    Court’s

Individual Rules of Practice, Section II.B., stating grounds

justifying dismissal of the action under Rule 12(b)(6). (See

Dkt. No. 30.) Plaintiffs opposed those grounds by letter dated

February 3, 2022. (See Dkt. No. 31.) And on February 22, 2022,

Defendants indicated to the Court that the pre-motion letter

practice was unable to resolve the dispute and avoid motion

practice at this point and requested a conference on the

proposed motion to dismiss. (See Dkt. No. 32.) On June 24,

2022, the Court denied the request for a conference and

directed the parties to submit a proposed briefing schedule

for the motion to dismiss. (See Dkt. No. 33.)




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      On August 31, 2022, Defendants filed their Motion to

Dismiss the Amended Complaint pursuant to Rule 12(b)(6), a

request for Judicial Notice supported by the declaration of

Defendants’        attorney,      Erin      Zatlin,         with   accompanying

exhibits, and their brief in support of the Motion. (See

“Motion,” Dkt. No. 37; “Request for Judicial Notice,” Dkt.

No. 38; “Brief,” Dkt. No. 39; “Zatlin Decl.,” Dkt. No. 40.)

Plaintiffs filed their Opposition on October 31, 2022 (See

“Opposition,” Dkt. No. 41), and Defendants submitted a Reply

in further support of their motion on November 30, 2022 (See

“Reply,” Dkt. No. 42).

                            II.   LEGAL STANDARD

      A.     RULE 12(B)(6) MOTION TO DISMISS

      To    survive    a    motion     to   dismiss,        pursuant    to   Rule

12(b)(6),     “a    complaint     must      contain     sufficient       factual

matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570, (2007)). A complaint satisfies this standard when it

contains sufficient “factual content that allows the court to

draw the reasonable inference that the defendant is liable

for   the   misconduct      alleged.”       Id.   A    complaint       should   be

dismissed     if      the   plaintiff       has       not     offered    factual

allegations        sufficient     to     render       the     claims    facially



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plausible.     See   id.    However,        if   the    factual         allegations

sufficiently “raise a right to relief above the speculative

level,” then a court should not dismiss a complaint for

failure to state a claim. Twombly, 550 U.S. at 555.

      When resolving a motion to dismiss, the Court’s task is

to   “assess      the   legal       feasibility         of     the       complaint,

not . . . the weight of the evidence which might be offered

in support thereof.” In re Columbia Pipeline, Inc., 405 F.

Supp. 3d 494, 505 (S.D.N.Y. 2019) (quoting Eternity Glob.

Master Fund Ltd. v. Morgan Guar. Tr. Co. of N.Y., 375 F.3d

168, 176 (2d Cir. 2004)). At this stage, a court must “accept

as   true   all   factual       allegations      and    draw    from      them    all

reasonable inferences; but [it is] not required to credit

conclusory     allegations        or   legal     conclusions            couched   as

factual . . . allegations.” Dane v. UnitedHealthcare Ins.,

974 F.3d 183, 188 (2d Cir. 2020).

      B.     SECTIONS 5 AND 12 LIABILITY AND THE HOWEY TEST

      Section 5 of the Securities Act prohibits persons from

offering,    selling,      or    delivering      by    means       of    interstate

commerce any security, “[u]nless a registration statement

[filed with the Securities and Exchange Commission] is in

effect.” 15 U.S.C. § 77e(a), (c). Section 12 creates a private

right of action for any person who purchased a security from

another,     in   violation       of   Section         5,    “to     recover      the


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consideration paid for such security with interest thereon.”

15 U.S.C. § 77l(a). In this case, the foundational question

of liability under Sections 5 and 12(a) is whether Dapper

Labs’s offer and sale of Moments amounts to an offer or sale

of a security.

        “Congress’ purpose in enacting the securities laws was

to regulate investments, in whatever form they are made and

by whatever name they are called.” SEC v. Edwards, 540 U.S.

389, 393 (2004). The Securities Act’s definition of a security

is broad so as to effect that purpose, and includes, as

relevant       here,    an   “investment     contract”     within     the

definition. 15 U.S.C. § 77b(a)(1). 8 And while the Securities

Act does not define the scope of an “investment contract,” in

the seminal case SEC v. W.J. Howey Co., the Supreme Court of

the United States defined an “investment contract” as “a

contract, transaction or scheme whereby a person invests



8  Along with “investment contract,” the Securities Act defines a
“security” to mean “any note, stock, treasury stock, security future,
security-based   swap,   bond,   debenture,   evidence  of   indebtedness,
certificate of interest or participation in any profit-sharing agreement,
collateral-trust     certificate,     preorganization    certificate    or
subscription, transferable share, . . . voting-trust certificate,
certificate of deposit for a security, fractional undivided interest in
oil, gas, or other mineral rights, any put, call, straddle, option, or
privilege on any security, certificate of deposit, or group or index of
securities (including any interest therein or based on the value thereof),
or any put, call, straddle, option, or privilege entered into on a
national securities exchange relating to foreign currency, or, in general,
any interest or instrument commonly known as a ‘security’, or any
certificate of interest or participation in, temporary or interim
certificate for, receipt for, guarantee of, or warrant or right to
subscribe to or purchase, any of the foregoing.” 15 U.S.C. § 77(b)(a)(1).



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[their] money in a common enterprise and is led to expect

profits solely from the efforts of the promoter or a third

party.” 328 U.S. 293, 298-99 (1946).

      Courts refining and applying the so-called Howey test

are   directed     to   put   function   over     form.   The   definition

established in Howey “embodies a flexible rather than a static

principle, one that is capable of adaptation to meet the

countless and variable schemes devised by those who seek the

use of the money of others on the promise of profits.” Id. at

299. In analyzing whether some new-fangled scheme fits within

the definition of an “investment contract,” “form should be

disregarded for substance.” Tcherepnin v. Knight, 389 U.S.

332, 336 (1967). To that end, what matters is “not [] the

name appended” to a transaction, United Hous. Found., Inc. v.

Forman, 421 U.S. 837, 849 (1975), but “whether, in light of

the economic reality and the totality of circumstances,” the

instrument       was     an    investment       contract.       Glen-Arden

Commodities, Inc. v. Constantino, 493 F.2d 1027, 1034 (2d

Cir. 1974).

      At the motion to dismiss stage, Plaintiffs must plead

facts adequate to establish the three prongs of the Howey

test: (1) an investment of money (2) in a common enterprise

(3)   with   the    expectation    of    profit    from   the    essential




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entrepreneurial or managerial efforts of others. 9 Howey, 328

U.S. at 298-99.

                                III. DISCUSSION

        Since 1946, courts have applied Howey, which itself

dealt with citrus orchards, to evaluate and classify a wide

range of financial schemes and investment contracts, offers,

and instruments that at first blush would not appear to be

securities.       See    Glen-Arden       Commodities,    493    F.2d   1027

(whiskey casks); Miller v. Cent. Chincilla Grp., Inc., 494

F.2d 414 (8th Cir. 1974) (chinchillas); Marini v. Adamo, 812

F. Supp. 2d 243 (E.D.N.Y. 2011) (rare coins).

        The rise of blockchain-based technology has led a spate

of courts in this Circuit to further invoke Howey to assess

whether crypto tokens are securities. In these actions, the

tokens were offered for sale as part of initial coin offerings

(“ICOs”) -- a term derived from and functioning similarly to

a traditional initial public offering, or IPO, of company

stock;     used   to    raise    funds    to   develop   the   company. See

Balestra v. ATBCOIN LLC, 380 F. Supp. 3d 340 (S.D.N.Y. 2019);

SEC v. Telegram Group Inc., 448 F. Supp. 3d 352 (S.D.N.Y.



9Some courts refer to Howey as requiring a four-prong analysis, splitting
the third prong in two: (a) an expectation of profits (b) derived from
the efforts of others. See, e.g., SEC v. Telegram Grp. Inc., 448 F. Supp.
3d 352, 367-68 (S.D.N.Y. 2020). However, the parties essentially agree,
and the Court finds, that the test and analysis are the same no matter
how it is divided. (See Brief at 7 n.18; Opposition at 7 n.4.)



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2020); SEC v. Kik Interactive, Inc., 492 F. Supp. 3d 169

(S.D.N.Y. 2020) (together, the “ICO Cases”).

       The ICO Cases, although speaking in a similar technical

vernacular as that used here, do not involve identical schemes

and thus, even if this Court were bound by them, do not

dictate an outcome. To the Court’s knowledge, no other courts

have addressed either the exact substance or posture of the

dispute here: whether allegations that an unregistered offer

for purchase or sale of, specifically, an NFT constitutes an

investment contract under Howey and thus survive a motion to

dismiss under Rule 12(b)(6).

       In the most general terms, the Court is asked to assess

whether Moments are more like cardboard basketball cards,

i.e., commodities, or more like crypto tokens. As the ICO

Cases reveal, tokens offered as part of ICOs often bear the

hallmarks of a security. Here, it is a close call and the

Court’s decision is narrow. If there is a defining line

separating those offerings that are securities from those

that   are    not,   whether    Moments    qualify   toes   that   line

intimately. Nevertheless, mindful of the purposive nature of

Howey, the Court finds that Plaintiffs’ allegations render

each consideration under Howey facially plausible and survive

Defendants’    Motion   to     Dismiss    the   alleged   violation   of

Sections 5 and 12 of the Securities Act. See Gary Plastic


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Packaging Corp. v. Merrill Lynch, Pierce, Fenner & Smith,

Inc., 756 F.2d 230, 237 (2d Cir. 1985) (explaining that the

Congressional purpose for enacting the Securities Act was “to

provide investors with material information and to protect

the investing public from the sale of worthless securities

through misrepresentation”) (citing H.R. Rep. No. 85, 73d

Cong., 1st Sess. 1-5 (1933)).

     Before reaching Howey, however, the Court must begin

where Defendants’ Brief ends. As part of their concluding

arguments, Defendants ask the Court to not be distracted by

Plaintiffs’ references to and allegations about the FLOW

tokens that Dapper Labs created. Defendants urge the Court to

ignore FLOW tokens because they “and digital basketball cards

(Moments) are, as alleged, separate products.” (Brief at 28.)

They caution the Court to not be “confuse[d]” by Plaintiffs’

“talking     a    lot    about   technology   and   cases   involving

cryptocurrencies,” namely, the ICO Cases. (Id.) And they

insist that “the securities analyses for these products[,

FLOW and Moments,] are, likewise, separate.” (Id.)

     The Court certainly agrees with Defendants that FLOW and

Moments are separate instruments, that FLOW is not sold in

the United States, that Plaintiffs did not allege they own

FLOW, and that FLOW is not the instrument on which Plaintiffs’

Securities       Act    violations    are   premised.   Nevertheless,


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Defendants’ view of this point is too narrow. They ignore

that FLOW is part of the economic realities of the investment

scheme    in    dispute.     And,     moreover,      the   Court    finds     that

Defendants are wrong that Dapper Labs’s “embrac[ing] a new

technology -- NFTs -- does not change the underlying legal

analysis.” (Id.) In stark contrast to Defendants’ contention,

“the involvement of blockchain technology does [] alter” the

conclusion, as the Plaintiffs’ allegations make plausible

that     but    for     Dapper     Labs’s    creation,      development,      and

maintenance of the private Flow Blockchain, Moments would

have no value. (Id. (emphasis added).)

       The     interplay    among     FLOW,    the   Flow    Blockchain,       and

Moments is necessary to the totality of the scheme at issue.

Plaintiffs       have     alleged     that,    without      FLOW    tokens,    no

transactions on the Flow Blockchain can be validated. Indeed,

the    “Proof-of-Stake”            mechanism     employed      by    the    Flow

Blockchain requires FLOW to power it and incentivize miners

to validate transactions. In that respect, FLOW’s utility

creates value for Moments through the network’s consensus as

to ownership and the price of each transaction. Plaintiffs’

general appeal to “crypto”-adjacent cases is apt in that

regard.      Although      those    cases     have   primarily      dealt   with

initial offerings of assets, like the FLOW token, the more

pertinent throughline between those cases and the present


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action is the presence of the blockchain itself. In each case,

the promoters privatized their ledger, making the purchasers

reliant    upon    the   promoter   for    the    asset’s    value.   That

similarity is true whether the instrument is a crypto token

or an NFT. And it is the critical similarity here. Plaintiffs

allege a scheme of directly correlated value between FLOW and

Moments, insofar as FLOW is necessary to creating the value

of Moments via blockchain validation with “[t]he economic

impact [being] that as more value is created on top of the

Flow [B]lockchain, more demand is generated for FLOW tokens.”

(AC ¶ 107.)

     To be sure, however, and as discussed in more detail

below, the Court’s conclusion that the offer of Moments

constitutes an investment contract is not premised on the

sale and distribution of FLOW, and the Court provides no view

on whether FLOW, itself, constitutes a security. While the

Howey analysis for Moments is separate from that pertaining

to FLOW, the economic realities and technological interplay

between FLOW, the Flow Blockchain, and Moments, as alleged by

Plaintiffs, are what supports the Court’s conclusions.

     A.      APPLYING HOWEY

             1.    Investment of Money

     The   Court    finds   that    the   first    prong    of   Howey,   an

investment    of   money,   is   adequately       pled.    Austin’s   PSLRA


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Certification establishes that he spent considerable money

purchasing        Moments     from     Dapper       Labs.      (See    Austin

Certification.) The parties do not dispute this, and none of

the briefing submitted addresses this prong. The dispute

instead    involves         only     the   second     and      third    Howey

considerations: whether Plaintiffs have adequately pled (2)

a common enterprise and (3) an expectation of profits derived

from the essential entrepreneurial or managerial efforts of

others. The Court addresses those in turn.

             2.     Common Enterprise

     Defendants       contend      that    Plaintiffs       have   failed    to

adequately allege a common enterprise under either of the two

theories accepted in this Circuit. (See Brief at 8-18.) The

first of those theories is known as “horizontal commonality.”

Although typically analyzed together, horizontal commonality

exists    where    two   considerations       are    established:      (1)   a

sharing or pooling of the funds of investors and (2) that

“the fortunes of each investor in a pool of investors” are

tied to one another and to the “success of the overall

venture.” See Revak v. SEC Realty Corp., 18 F.3d 81, 87 (2d

Cir. 1994) (citation omitted); In re J.P. Jeanneret Assocs.,

Inc., 769 F. Supp. 2d 340, 359 (S.D.N.Y. 2011). Courts have

also found that while the pro-rata distribution of profits is

evidence     of    horizontal      commonality,      “such     a   formalized


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profit-sharing mechanism is not required.” ATBCOIN LLC, 380

F. Supp. 3d at 354; see also Kik, 492 F. Supp. 3d at 178

(same); Revak, 18 F.3d at 87 (defining horizontal commonality

as “the tying of each individual investor’s fortunes to the

fortunes of the other investors by the pooling of assets,

usually combined with the pro-rata distribution of profits”)

(emphasis added).

     Common enterprise may also be established by showing

vertical commonality. Two types of vertical commonality are

recognized by some courts, “broad” and “strict” vertical

commonality. Broad vertical commonality is established by

showing that “the fortunes of investors are tied to the

efforts of the promoter.” Revak, 18 F.3d at 88. Although other

Circuits   accept   broad   vertical    commonality    as   a   viable

theory, in Revak, the Second Circuit explicitly rejected its

application because it “effectively merged into a single

inquiry” the “two separate questions posed by Howey -- whether

a common enterprise exists and whether the investors’ profits

are to be derived solely from the efforts of others.” Id.

at 88.




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      Accordingly,         only     “strict        vertical       commonality”       is

accepted    in     this       Circuit. 10      “Strict    vertical       commonality

requires    that     the       fortunes     of    investors       be    tied   to the

fortunes of the promoter.” Id. (internal quotation marks

omitted).    “Stated           otherwise,        strict   vertical       commonality

exists where there is a ‘one-to-one relationship between the

investor and investment manager’ such that there is ‘an

interdependence           of     both     profits         and     losses       of    the

investment.’”       Marini,       812     F.     Supp.    2d     at    256   (citation

omitted). In such a common enterprise, “the fortunes of

plaintiff and defendants are linked so that they rise and

fall together.” Jordan (Bermuda) Inv. Co., Ltd. v. Hunter

Green Investments Ltd., 205 F. Supp. 2d 243, 249 (S.D.N.Y.

2002) (citation omitted).

             a)     Horizontal Commonality

            (1)     Pooling

      First,      the     Court     addresses          whether    Plaintiffs        have

adequately        pled    a     “pooling”         of    the     investors’      funds.

Defendants argue that Plaintiffs fail to allege pooling,

stating that “there are no meaningful facts alleged showing


10 The Second Circuit did not “address the question of whether strict
vertical commonality gives rise to a common enterprise” in Revak, but
also did not reject it. Revak, 18 F.3d at 88. Since Revak, courts in this
Circuit have continued to assess the common enterprise prong under the
theory of strict vertical commonality. See In re J.P. Jeanneret Assocs.
Inc., 769 F. Supp. 2d at 360 (collecting cases); see also generally ICO
Cases.



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pooling” and further that “no variation of the word ‘pool’

appears in” the AC. (Brief at 17.) While the Court agrees

with    Defendants   that   there    are   no   detailed    factual

recitations in the AC regarding the word “pooling,” pooling

may be reasonably inferred from Plaintiffs’ allegations. See

Dane, 974 F.3d at 188 (requiring courts to “accept as true

all factual allegations and draw from them all reasonable

inferences”); see also United States v. Zaslavskiy, No. 17

Cr. 647, 2018 WL 4346339, at *6 (E.D.N.Y. Sept. 11, 2018)

(“Though the Indictment is not explicit, it can readily be

inferred from the facts alleged that the Recoin and Diamond

investment strategies depended upon the pooling of investor

assets.”).

       Generally, pooling occurs when the funds received by the

promoter through an offering are, essentially, reinvested by

the promoter into the business. In turn, such reinvestment

increases the value of the instrument offered. See Milnarik

v. M-S Commodities, Inc., 457 F.2d 274, 278 (7th Cir. 1972)

(describing the origins of pooling in Howey as creating “a

pool of capital to be used in furthering a common enterprise”

even where the “sales of units of land . . . purported to be

outright sales from one individual to another”). It is those

conditions that, in the words of Revak, “tie[] the fortunes

of each investor in a pool of investors to the success of the


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overall venture.” 18 F.3d at 87 (quoting Hart v. Pulte Homes

of Mich. Corp., 735 F.2d 1001, 1005 (6th Cir. 1984)).

       To that end, the courts in the ICO Cases have found

pooling satisfied where allegations plausibly tied the funds

received     by   the   promoter   through     the   offering   to   an

improvement of the ecosystem (i.e., the private blockchain)

that consequently increases the value of the token offered

during the ICO. For example, in Kik, the court found pooling

was adequately alleged where

       Kik deposited the funds into a single bank account. [And]
       Kik used the funds for its operations, including the
       construction of the digital ecosystem it promoted. . . .
       The success of the ecosystem drove demand for Kin[, the
       crypto token offered by Kik in its ICO,] and thus
       dictated investors’ profits. . . . Rather than receiving
       a pro-rata distribution of profits, which is not
       required for a finding of horizontal commonality,
       investors reaped their profits in the form of the
       increased value of Kin.

492 F. Supp. 3d at 178. Likewise, in Audet v. Fraser, --- F.

Supp. 3d ---, 2022 WL 1912866 (D. Conn. June 3, 2022), the

court concluded that the jury’s finding that there was no

pooling was against the weight of the evidence because the

“promotional materials described [the promoter’s] plan to use

funds raised via the various ICO stages to create a [fund]

that   it   would   use   to   guarantee   a   $20   price   floor   and

facilitate        widespread     adoption,     thereby       increasing




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Paycoin’s[, the crypto token offered,] market value.” Id. at

*15.

        Defendants argue that these cases, and the ICO Cases

more generally, are inapposite. (See Brief at 12-14.) In

short, Defendants argue that the ICO Cases and others like

them    require     that    the    offering,        and   the   capital    pooled

therefrom,    occur        in   advance      of   the     construction    of   the

ecosystem that supports, and which increases, the value of

the token.

        Such a temporal requirement is not supported by the case

law and does not follow from a practical perspective. For

example, in Telegram, the court found that the “plain economic

reality is that, post-launch [of the underlying blockchain],

the [crypto assets] themselves continue[d] to represent the

Initial Purchasers’ pooled funds.” 448 F. Supp. 3d at 369

(citing ATBCOIN LLC, 380 F. Supp. 3d at 354 (pooling of assets

in a post-launch digital asset)). Although both rounds of

purchases were made before the blockchain launched, the court

specifically found that “horizontal commonality exist[ed]

after the launch.” Id. at 369. Pooling was established because

the later-round purchasers’ and the initial-round purchasers’

funds     would    support        the   continued         development     of   the

blockchain, even once it launched, because both rounds of

purchasers        “were     dependent        upon    the     success      of   the


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[blockchain].” Id. at 370 (“[I]f [the blockchain] failed, all

Initial Purchasers would suffer a diminution in the value of

their [assets].”).

     The logic of cases like Telegram is sound. Implementing

the temporal bar that Defendants urge is impractical and would

inappropriately limit the scope of investment contracts to

pre-development initial offerings. Such a limitation does not

comport with application of the test embodied by Howey, where

the citrus groves had already been established, some for

years, prior to offering the land sale investment contracts.

Indeed, the funds pooled through the sale of the orchard

parcels would “help [the Howey Company] finance additional

development,” not initial construction. Howey, 328 U.S. at

295; see also id. (explaining that the price per acre of the

groves varied based on “the number of years the particular

plot ha[d] been planted with citrus trees”).

     The Court is also not persuaded by Defendants’ argument

that “[f]or pooling to exist, ‘each investor’s rate of return’

needs to be ‘entirely a function of the rate of return shown

by the entire account.’” (Brief at 10 (citing Savino v. E. F.

Hutton & Co., 507 F. Supp. 1225, 1236 (S.D.N.Y. 1981)).) That

proposition    from   Savino,    as   formulated    by   Defendants,

overstates the law, is dicta in the context of one example of




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pooling (a “commodity pool”), and is raised in the context of

pooling with pro-rata distribution. It is not relevant here.

      Similarly,    Defendants’    reliance    on   Savino   and   the

Seventh Circuit case of Hirk v. Agri-Rsch. Council, Inc., 561

F.2d 96 (7th Cir. 1997), is also misplaced. Defendants cite

these cases for the proposition that the unique nature of the

Moments in each Plaintiff’s account, comprising different

Moments from any other users’, undermines the notion of

pooling. (Brief at 10). That circumstance may have been true

in Savino and Hirk, where the investments had no causal

relation to the enterprise, but it is not what Plaintiffs

alleged here. As the court in Savino explains, “[w]ith respect

to   horizontal    commonality,   the   key   feature   is   not   that

investors must reap their profits at the same time; it is

that investors’ profits at any given time are tied to the

success of the enterprise.” Savino, 507 F. Supp. at 1236-37.

As described in more detail below, Plaintiffs have adequately

alleged that the value of Moments is “causally related to the

profitability of [Dapper Labs] as a whole” because their value

depends on the success of the Flow Blockchain. Id. at 1237;

cf. ATBCOIN LLC, 380 F. Supp. 3d at 354 (rejecting argument

that purchasers “gained no share in a common enterprise, but

rather exercised individual control over the ATB Coin asset”

on the grounds that “the potential profits stemming from the


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future valuation of the ATB Coins were entirely reliant on

the    success     of    Defendants’         new     blockchain”      (internal

quotation marks and alterations omitted)).

       Bearing this background in mind, the Court is persuaded

that the AC adequately alleges pooling to survive the Motion

to Dismiss. Plaintiffs alleged that Dapper Labs’s sale of

packs of Moments and the transaction fees on the Marketplace

generate revenue used to support and grow the blockchain.

(See AC ¶ 66.) This factual assertion would be sufficient to

support a reasonable finding of pooling. But Plaintiffs also

allege that purchasers’ capital is then held by Dapper Labs

in Dapper-controlled wallets. (Id. ¶ 102.) Further, they

contend that Dapper Labs has been retaining purchasers’ cash

on its books for months after withdrawals are requested to

help “raise money at a high valuation,” to “prop up the value

of    the   [FLOW]     token,”    because,         without   capital    on    the

platform, “the platform will collapse.” (Id. ¶¶ 97-102, 106,

111.) In other words, Plaintiffs allege that Dapper Labs has

pooled Moments purchasers’ funds to raise additional capital,

outside     of   and    along    with   revenue,       to    ensure   the    Flow

Blockchain does not collapse. The reasonable inference to

draw from these allegations is that the capital Dapper Labs

raises through the offer of Moments is used to develop and

maintain the Flow Blockchain. (See also Zatlin Decl. Ex. 7 §


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3(ii) (hereinafter, “NBA Top Shot Terms of Use”) (“Every

transaction on the Flow Network [and over the Flow Blockchain]

requires    the     payment    of     a     transaction     fee . . . [that]

fund[s] the network of computers that run the decentralized

Flow Network.”).) And because, as discussed below, the Flow

Blockchain is necessary to the value of Moments, pooling is

facially plausible. See Telegram, 448 F. Supp. 3d at 370.

Accordingly,      Plaintiffs        adequately     allege     a   pooling   of

assets.

           (2)      Investors’ and Enterprise’s Fortunes Tied

       The Court has an easier time finding that the second

consideration, that the fortunes of each investor is tied to

the success of the overall venture, is adequately pled. As

explained in Revak: “[I]n a common enterprise marked by

horizontal commonality, the fortunes of each investor depend

upon the profitability of the enterprise as a whole.” 18 F.3d

at 87. The common thread pulled from the ICO Cases is that

this second consideration is satisfied where the digital

asset’s value is tied, and depends upon, the continued success

of the blockchain. See Telegram, 448 F. Supp. 3d at 369-70;

Kik, 492 F. Supp. 3d at 178; ATBCOIN LLC, 380 F. Supp. 3d at

353.

       Plaintiffs     adequately          allege   that   the     purchasers’

fortunes were tied to the overall success of Dapper Labs.


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Specifically, Plaintiffs assert that “Dapper Labs controls

the enterprise,” including the “Flow Blockchain” that Moments

sit   atop.   (AC    ¶     74.)   Plaintiffs   have   also   alleged   that

Moments, once purchased in packs, can be sold only in the

Marketplace, which again, is controlled by Dapper Labs. (See

AC ¶ 67.) And Plaintiffs have alleged that purchasers of

Moments are “hitching their wagons to the continued success

of NBA Top Shot, [and] to Dapper Labs and the Flow Blockchain

that underlies the platform.” (AC ¶ 86.)

       An article incorporated in the AC by reference, and of

which Defendants ask the Court to take judicial notice,

includes statements supporting a finding that Plaintiffs’

horizontal     commonality         allegations    are    plausible.     The

article, published by Sports Illustrated, explains that “[i]n

the days following [a] Feb[ruary] 22 [M]arketplace spike,

trading was halted for hours at a time, leading to a sharp

drop in the prices of [M]oments.” (Zatlin Decl. Ex. 2 at 8.)

This statement ties the value of Moments to Dapper Labs’s

success. If the fortunes of Moments purchasers were entirely

divorced from the success of Dapper Labs’s Flow Blockchain,

then such price reactions based on Dapper Labs’s management

of the Flow Blockchain would be unlikely. Plaintiffs will

need evidence to prove this causal connection, but the Court

is    persuaded     that    Dapper   Labs’s    scheme   to   sell   Moments


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plausibly          reflects     horizontal     commonality         by     being

“intertwined with interest in Dapper Labs, its burgeoning new

blockchain, and the token that ‘powers it all.’” (AC ¶ 89.)

        The   cases     cited    by   Defendants      do   not    alter   this

conclusion. (See Brief at 11-12 (citing Dahl v. English, 578

F. Supp. 17 (N.D. Ill. 1983); Stenger v. R.H. Love Galleries,

Inc., 741 F.2d 144 (7th Cir. 1984); Wells v. Jackie Fine Arts,

Inc., No. C-2-86-0374, 1989 WL 140912 (S.D. Ohio Sept. 25,

1989)).)      In    citing    these   cases,   Dapper      Labs   incorrectly

targets the product or instrument being offered in those

cases, rare collectibles. Defendants miss the mark. Moments

are     not    comparable       to    those    rare    collectibles.        And

Defendants’ focus on the instrument being offered is askew.

Rather, in determining whether horizontal commonality exists,

the aim must be on the totality of the scheme and the economic

realities that encompass it. In each of the cases cited by

Defendants,        horizontal    commonality    did     not   exist     because

there was no causal connection between “unique pieces of

artwork” being sold and the promoter making the offering.

See, e.g., Dahl, 578 F. Supp. at 20. That is not the case

here.

        Although Moments are unique and (definitionally) non-

fungible, having a differing value based on serial number or

the highlight represented in the NFT -- like the artwork sold


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in Dahl, see id. -- Plaintiffs have plausibly alleged that

Moments’ continued value is dependent upon the success of

Dapper Labs. This may be reasonably inferred from the AC.

Dapper Labs controls the Flow Blockchain. Moments cannot be

sold or traded outside of the Marketplace, also controlled by

Dapper    Labs.   And   all     that        Moments   purchasers     own   is,

essentially, the line of code recorded on the Flow Blockchain,

as   no   other   rights      to   use      or   display   the     image   are

transferred. The NBA Top Shot Terms of Use also states that

Moments have no intrinsic or inherent value outside the Flow

Blockchain. (See NBA Top Shot Terms of Use §§ 2(vi), 9(i) &

9(v).) It follows that, if, hypothetically, Dapper Labs went

out of business and shut down the Flow Blockchain, the value

of all Moments would drop to zero. That is the critical causal

connection that other collectibles cases lack, and which is

alleged here.

      Assessing   those    allegations           in   connection    with   the

analogy Defendants favor -- cardboard basketball cards --

reveals the flaw in their analysis. Hypothetically, if Upper

Deck or Topps, two longtime producers of physical sports

trading cards, were to go out of business, the value of the

cards they sold would be wholly unaffected, and may even

increase, much like posthumously discovered art. That is not

true here, where Plaintiffs allege that the pooling of capital


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generated      from     the   sale    of    Moments   propped     up   the   Flow

Blockchain and where the value of Moments is intertwined with

the success of that blockchain and Dapper Labs. Accordingly,

the Court finds that Plaintiffs have satisfied the horizontal

commonality test and thus adequately pled an investment in a

common enterprise.

               b)     Strict Vertical Commonality

        Although the Court finds that Plaintiffs have pled a

common enterprise existed through horizontal commonality, it

takes    the    opportunity      to    discuss     the     alternative   theory

Plaintiffs rely on, strict vertical commonality. “To support

a finding of strict vertical commonality, a plaintiff must

establish that ‘the fortunes of plaintiff and defendants are

linked so that they rise and fall together.’” Marini, 812 F.

Supp. 2d at 256. In other words, plaintiffs show strict

vertical commonality by alleging a “one-to-one relationship

between the investor and the investment manager” such that

there is an “an interdependence of both profits and losses of

the investment.” Kaplan v. Shapiro, 655 F. Supp. 336, 341

(S.D.N.Y. 1987).

        The entirety of Plaintiffs strict vertical commonality

argument       hinges    on   one     allegation      --   that   Dapper     Labs

collected a five percent fee on every transaction in the

Marketplace. (See AC ¶ 66.) The Court is not persuaded that


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this    lone   allegation,    along        with   the   other   reasonable

inferences drawn from it, is sufficient to establish strict

vertical commonality as a matter of pleading or law.

       Plaintiffs draw on two cases in support of their argument

that they have alleged strict vertical commonality. Both

compel the opposite conclusion. In In re J.P. Jeanneret

Associates, the court found that strict vertical commonality

was    established   based   on   a    performance      fee   paid   to   the

investment manager. 769 F. Supp. 2d at 360. The agreement

controlling    the   investment       outlined     that   the   investment

manager would be “paid (1) a basic quarterly fee in the amount

of one-eighth of one percent (.00125) of the ‘closing value’

of the assets in the investment account, and (2) a performance

fee equal to 20% of the profits in the investment account

that exceed the preferred return and the basic quarterly fee.”

Id. Although the court there referenced the “basic quarterly

fee” in describing the investment agreement, its conclusion

with respect to strict vertical commonality turned on payment

of the performance fee: “if profits were not generated in a

calendar year, or if the profits did not exceed the preferred

return, then JPJA did not receive a performance fee.” Id.

(emphasis added).

       Plaintiffs try to avoid this reading of Jeanneret by

pointing to the basic quarterly fee, stating that “[s]ince


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the investment manager earns a quarterly fee based on total

assets in the account, the manager could make a profit in a

quarter where the investor took a loss.” (Opposition at 11.)

The statement is true enough. But the better reading of

Jeanneret is that the presence of the quarterly fee, insofar

as   it    is    not    paid    based    on   profits,    and   while     being

potentially probative of an interdependence between investor

and promoter, is not sufficient to establish strict vertical

commonality on its own. The performance fee based on profits

is the critical element.

       The other case Plaintiffs rely on, Marini v. Adamo, is

unpersuasive. Marini involved a scheme for the purchase and

sale of rare coins. Like the Marketplace here, “Adamo [the

promoter of the scheme] insisted that Marini buy and sell

coins only through Adamo.” 812 F. Supp. 2d at 249. On a motion

for summary judgment, Marini argued that strict vertical

commonality       was   satisfied       because   Adamo   would   receive     a

commission based on the sale of the rare coin. See id. at

259-60.

       Plaintiffs’ latch on to the court’s statement in Marini

that “if Adamo were to receive a commission on the sale of

the coins, his fortunes would be inextricably tied to those

of Marini’s,” id. at 260, and invites the Court to hold the

same      with   respect       to   Dapper    Labs’s     five   percent     fee


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(Opposition at 11-12). The Court declines the invitation. On

one hand, the court in Marini did not find that strict

vertical commonality was established. Instead, it found that

“disputed issues of material fact exist[ed] as to whether

Adamo earned commissions on the sale of Marini’s coins and,

accordingly, the Court c[ould not] conclude as a matter of

law   whether     Adamo’s    fortunes        would    rise    and      fall   with

plaintiffs’      fortunes.”      812    F.    Supp.   2d     at   259-60.     This

undermines any reliance on the court’s passing reference to

a “commission” as establishing the requisite linkage for

strict vertical commonality. The record in Marini was also

not clear as to when the purported commission was earned and

whether it was based on profits or mere sale of the coin. The

Court finds that Marini does not support Plaintiffs’ strict

vertical commonality argument.

        On the other hand, the cases cited in Marini provide the

better     answer.       Other    than       citing   Jeanneret         for    the

proposition      discussed       above,      the   court     in   Marini      also

discussed Walther v. Maricopa Int’l Inv. Corp., No. 97 Civ.

4816, 1998 WL 186736 (S.D.N.Y. Apr. 17, 1998). Walther makes

clear the fault in Plaintiffs’ assertions. In Walther, the

court    found    that    “strict      vertical    commonality         exist[ed]”

because “the defendants were to be paid only if Walther’s

funds    made    substantial      gains.     Consequently,        if    Walther’s


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funds appreciated in value, the defendants were financially

compensated. On the other hand, if Walther’s investment did

not perform well, the defendants were not paid.” Id. at *7

(internal quotation and citations omitted). Both Jeanneret

and    Walther   support       a    finding         that   strict    vertical

commonality exists, in a commission-based scheme, where the

commission is paid only in connection with the plaintiff’s

investment turning a profit.

       Such is not the case here. Dapper Labs collects the five

percent fee -- concededly called a “transaction fee” by Dapper

Labs, not a commission -- regardless of the performance of

the Moments in the marketplace. And while it is percentage-

based, making the amount of the fee rise and fall with the

value of the sale on the Marketplace, the Court is persuaded

that such direct correlation does not satisfy the strict

vertical commonality test.

       Outside of their fee-based argument, Plaintiffs resort,

in a footnote, to arguing that in blockchain-related cases,

like    Telegram,    courts     have        found   that    strict   vertical

commonality is satisfied where the success of the investment

is tied to the performance of the blockchain. (See Opposition

at 13 n.7.) The Court agrees that Plaintiffs have plausibly

alleged that Moments’ success is tied to the performance of

the    blockchain.    But     the   circumstances          in   Telegram   are


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distinct.      In      Telegram,    strict      vertical       commonality     was

dependent upon the court’s finding that Telegram’s largest

asset was a large reserve of the same crypto token, Grams, it

offered     to        investors,    “thereby      linking       the     company’s

financial fortunes to the price of Grams and the success of

the TON Blockchain.” 448 F. Supp. 3d at 370. Although true

that Plaintiffs have alleged that Dapper Labs maintains a

large reserve of FLOW token, whose value is connected to the

economic value of activities on the Flow Blockchain, none of

the   Plaintiffs         claims    to    own    FLOW     and    the    Securities

violations alleged are not for the offer of FLOW. This breaks

the required linkage.

      To illustrate, while the value of FLOW is alleged to be

connected to the value of Moments, if Dapper Labs offered

another NFT on the Flow Blockchain and decided to shut down

the NBA Top Shot application altogether, it is plausible that

the   value      of    FLOW   would     be    propped    up    and    potentially

increased by the new offering, while the value for Moments

plummeted. Essentially, while Moments depend on FLOW, the

value of FLOW could depend on other of Dapper Labs’s offerings

supported by the Flow Blockchain and existing in the Flow

Network.      Thus,     the   value     for    Moments    and    FLOW,    as   the

necessary asset for strict vertical commonality under the

theory promulgated in Telegram, would not rise and fall


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together. Cf. Jordan (Bermuda) Inv. Co., 205 F. Supp. 2d at

249.

               3.     Expectation of Profits

        Plaintiffs must also adequately plead the final Howey

prong: that Dapper Labs’s offer of Moments on NBA Top Shot

came with “a reasonable expectation of profits to be derived

from the entrepreneurial or managerial efforts of others.”

Forman, 421 U.S. at 852. While Howey contemplated that the

investor must be “led to expect profits solely from the

efforts of the promoter or a third party,” Howey, 328 U.S. at

299 (emphasis added), the Second Circuit has since held that

“the    word    solely    should      not    be   construed    as    a    literal

limitation;         rather,     we   consider     whether,    under      all    the

circumstances, the scheme was being promoted primarily as an

investment.” United States v. Leonard, 529 F.3d 83, 88 (2d

Cir.    2008)       (internal    quotation      marks    omitted);       see   also

ATBCOIN LLC, 380 F. Supp. 3d at 355 (“[T]he third prong of

the Howey test is satisfied when the efforts made by those

other than the investor are the undeniably significant ones,

those essential managerial efforts which affect the failure

or success of the enterprise.”) (citation omitted).

        The “expectation of profits” test is an objective one.

Howey    directs       courts    to   “examine     the    offering       from   an

objective perspective,” SEC v. Aqua-Sonic Prods. Corp., 687


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F.2d 577, 584 (2d Cir. 1982), and decide “based upon what

purchasers were ‘led to expect’” by the promoter, Audet, 2022

WL 1912866, at *17 n.7 (D. Conn. June 3, 2022). Even so,

courts in this Circuit have assessed the “subjective intent,”

of purchasers, although not determinative, as “probative on

the issue of what a reasonable purchaser would have expected.”

Id.; see also Telegram, 448 F. Supp. 3d at 374 (“The Court’s

finding that the [cryptocurrency purchasers] had a reasonable

expectation of profit is buttressed by [the purchasers’]

subjective     views. . . .     The     subjective   intent     of   the

[purchasers] does not necessarily establish the objective

intent of a reasonable purchaser. However, the stated intent

of prospective and actual purchasers, though not considered

for the truth of their content, may be properly considered in

the Court’s evaluation of the motivations of the hypothetical

reasonable purchaser.” (citing SEC v. Tex. Gulf Sulphur Co.,

446 F.2d 1301, 1305 (2d Cir. 1971)).) 11


11Defendants’ Reply argues that “The Second Circuit has affirmed a case
confirming that ‘[t]he subjective intention or motivations of the
investors are irrelevant.’” (Reply at 9 (citing SEC v. Aqua-Sonic Prods.
Corp., 524 F. Supp. 866, 867 (S.D.N.Y. 1981), aff’d, 687 F.2d 577).) But
the very next sentence of the district court’s opinion explains that “to
the extent that subsequent events give rise to inferences that are
relevant to the economic reality of the transactions at the time they
occurred, they were considered, but only to that extent,” strongly
suggesting that subjective intent plays some role in probing the issue.
Aqua-Sonic Prods. Corp., 524 F. Supp. at 876. Further, in affirming Aqua-
Sonic, the Second Circuit did not pronounce a view (and has not since) on
the extent to which the subjective motivation of purchasers is relevant
to buttressing the objective inquiry. And as explained above, cases since



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               a)     Promise of Profits

        Defendants’ Motion on the third prong of Howey begins

with    the    argument       that,   objectively,          Dapper    Labs    never

persistently promised profits to potential purchasers. (Brief

at 19-20.) To begin, Defendants misstate the law. Their

representation         that   “[t]here       needs    to    be   a   ‘persistent’

promise of profit,” has no support in the Second Circuit.

(Brief at 19 (quoting SEC v. SG Ltd., 265 F.3d 42, 54 (1st

Cir. 2001).) In the case Defendants cite, SEC v. SG Ltd., the

First    Circuit       used   “persistent”      to     describe      SG’s    actual

actions in that case, not to define a rule. Other than SG

Ltd., the Court’s research did not reveal any other court in

any jurisdiction requiring any such persistency. Thus, a

persistent          promise   of   profits      is     sufficient,      but     not

necessary, to satisfy Howey.

        As    to    the   allegations    here,        the   Court     finds   that

Defendants’          public    statements       and     marketing      materials

objectively led purchasers to expect profits. The AC includes

Tweets, i.e., marketing materials, made by Dapper Labs via

its NBA Top Shot account (AC ¶¶ 63 & n.1, 65 & n.2):




Aqua-Sonic in this Circuit have extolled the virtue of assessing
subjective intent as probative of whether a reasonable investor was led
to expect profits. The Court follows suit.



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Each Tweet promotes a recent sale or statistics of recent

sales of Moments on the Marketplace. And although the literal

word “profit” is not included in any of the Tweets, the

“rocket ship” emoji, “stock chart” emoji, and “money bags”

emoji objectively mean one thing: a financial return on

investment. See SEC v. Edwards, 540 U.S. 389, 396 (2004)

(“[T]he commonsense understanding of ‘profits’ in the Howey

test [is] simply ‘financial returns on . . . investments.’”

(internal   citation   omitted)).    Gharegozlou   also   admits   a

profit motive. He is quoted promoting Moments to “younger


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generations”    as   giving   them    an   opportunity   to   “benefit

financially” from the purchase. (AC ¶ 80.) And he publicly

promotes his own holdings as “valuable.” (Id. ¶ 103.)

     Defendants’ argument that these “tweets merely provide

accurate facts regarding recent sales, and do not reference

any gains or losses,” (Brief at 19) is rebutted by the alleged

sales structure of Moments packs. Dapper Labs markets Moments

based on scarcity, offering common, rare, legendary, and

other premium packs. (Id. ¶¶ 56-57.) The pricing of these

packs at a drop is as low as nine dollars for common packs

and higher based on the promise of acquiring scarcer Moments.

Taken together with the Tweets promoting record high sales,

exponentially higher than the price of Moments in a pack,

makes plausible that Dapper Labs objectively led purchasers

to expect that they would realize the same gains. Cf. Kik,

492 F. Supp. 3d at 179 (finding that an explanation of the

“role of supply and demand in driving the value of Kin” as

sufficient to establish the expectation of profits prong).

     Although the Court is persuaded that the allegations

regarding Dapper Labs’s statements support a finding that the

promise   of   profits    consideration      is   established,    that

conclusion is buttressed by the subjective observations of

purchasers and those reporting on the NBA Top Shot offering.




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        The AC details an investor, Jesse Schwarz (“Schwarz”),

who was quoted as stating that purchases of Moments “are

investments” and that he was motivated to buy the Moment of

a LeBron James dunk “for $208,000” because it “was worth seven

figures right away.” (AC ¶ 59.) He continues that “investing

in [] Moments is a lot like investing in stocks. . . . ‘It’s

not only about what the best company or best player is. It’s

about understanding what’s baked into the price and what other

people aren’t seeing.’” (AC ¶ 78.) In the same article in

which Schwarz is quoted, incorporated by reference in the AC,

Michael Levy, another Moments purchaser and host of an NBA

Top    Shot   podcast,    explained   one    of   his   motivations    for

purchasing Moments was “[o]bviously the financial returns.”

(Zatlin Decl. Ex. 1 at 16.)

        The Sports Illustrated article incorporated by reference

in the AC also bolsters the notion that Dapper Labs promised

profits, going so far as to state that it was the “promise of

soaring earnings . . . [that] has kept a steady stream of new

users    joining   [NBA    Top   Shot].”    (AC   ¶   61.)   The   reporter

explains that “those lucky enough to acquire packs for $9 or

even $99 . . . have effectively hit a jackpot: The [M]oments

within are always valued magnitudes higher than the pack

itself.” (Zatlin Decl. Ex. 2 at 7.) And the article recounts

that    purchasers   who    “initially      invested    a    few   thousand


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dollars” saw “the value of their account balloon by factors

greater than 10, almost overnight.” (Id. at 2.)

        The AC also quotes the former Chief of the SEC’s Office

of Internet Enforcement, who comments that “[t]he reality is

that the growing fanatical NBA Top Shot database is all about

the investment, speculation and appreciation of the Top Shot

NFTs      [i.e.,      Moments] . . . reinforces               these      notions

exponentially.” (AC ¶ 79.) These subjective observations all

bolster the Court’s objective inquiry into how Dapper Labs

marketed        Moments   and      its   finding       that   Defendants     led

purchasers to expect profits.

        That finding is not changed by Defendants’ consumptive

use    argument.     (Brief     at    20-21.)    Defendants       contend   that

Plaintiffs’       promise     of     profits    allegations       fail   because

“Plaintiffs do not disavow that they intended to consume --

‘to occupy the land or to develop it themselves,’ -- the

basketball cards in the way that other collectors do, e.g.,

by     buying    preferred      playing       cards,    seeking    cards    from

preferred teams, and actively selling or trading cards.”

(Brief at 21 (citing Forman, 421 U.S. at 852-53).)

        Factually, Forman is irrelevant. The Supreme Court found

that the record established that there was “no doubt that

investors were attracted solely by the prospect of acquiring

a place to live, and not by financial returns on their


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investments.” Forman, 421 U.S. at 853. Legally, Forman left

open    the   possibility   that     “[i]n   some   transactions    the

investor is offered both a commodity . . . for use and an

expectation of profits” and noted “the application of the

federal   securities    laws    to   these   transactions   may    raise

difficult questions that are not present in this case.” Id.

at 853 n.17. These difficult questions are raised here but

are, mostly, factual in nature and should not be answered in

the current procedural posture.

       Defendants assert that “collectors purchase Moments with

a desire to consume them for what they are: unique cards

depicting specific NBA games, plays, and players.” (Reply at

10.) Defendants also point to Leuis’s PSLRA certification for

which they assert that “over 45% of the individual Moments

purchased . . . are for players who were on the New York

Knicks” representing Leuis’s fandom as a New Yorker and a

consumptive    motivation. 12   Defendants’    arguments    about   the

extent to which members of the putative class bought Moments

for commercial or investment purposes are important factual

questions that are ill-suited for resolution on a motion to



12 The Sports Illustrated article that the Court judicially notices
includes statements that do not support consumptive intent, explaining
that purchasers of NFTs more generally “aren’t just paying for a memento
or to support someone they believe in. They buy in because, like a seed
investor, they can reap stunning profits as that product’s or artist’s
[or, here, athlete’s] profile rises.” (Zatlin Decl. Ex. 2 at 5.)



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dismiss. But at this point, none of their arguments establish

that the “transaction[s were] primarily for commercial (i.e.,

motivated      by    a     desire       to    use,     consume,     occupy    or

develop) . . . purpose[].” Seagrave Corp. v. Vista Resources,

Inc.,    534   F.    Supp.      378,    383   (S.D.N.Y.     1982)   (citations

omitted).

        Rather,     Plaintiffs’         allegations,        including       those

detailed above, are adequate to support a finding that Moments

were primarily purchased for an investment purpose. Other

than the ability to view particular Moments one owns, and to

seek out certain players, plays, or teams in the Marketplace,

Moments have no other utility. The AC alleges, and Defendants

do   not    rebut,       that    “the    owner       does   not   acquire    any

intellectual property rights or rights to the underlying NBA

highlight.” (AC ¶ 55.) The Verge article the Court judicially

notices, points out the many restrictions imposed by the NBA

Top Shot Terms of Use. It restricts owners of Moments from

making “merch unless the NBA approves it,” “chang[ing] the

Moment,” or placing the Moment on social media or other

platforms under certain conditions. (Zatlin Decl. Ex. 1 at

9.) Dapper Labs places strict limitations on how purchasers

can actually consume Moments, undermining a finding that

their purpose is primarily consumptive.




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      Further, as detailed in the Verge article, Dapper Labs’s

“big plans” for other consumptive uses of Moments -- with

application to a “mobile basketball game,” ability to “watch

your Moments in [Virtual Reality] or [Augmented Reality],” or

to have “perks at the real [basketball] games” -- appear to

be only speculative uses and are fact questions for which

discovery is needed. (Zatlin Decl. Ex. 1 at 14.) Even so,

“none of this ‘consumptive use’ was available at the time”

Moments    were     offered       to    Plaintiffs,        raising    considerable

doubt as to a consumptive motivation for the purchases. Kik,

492 F. Supp. 3d at 180. Other than Dapper Labs’s self-serving

definition of Moments as “Art,” Defendants concede that the

definition        connects       only    to        “the   videos     and    pictures

underlying each Moment,” which purchasers do not own, thus

ignoring that the “totality of the evidence” supports a

finding that Moments were purchased with “investment intent.”

See   Telegram,      448    F.    Supp.       3d    at    371-72.    The    Court   is

persuaded that the AC plausibly alleges that profits were

promised     by      Defendants          in        connection       with     Moments

transactions       and     were    the    primary         motivator    of    Moments

purchasers.

             b)     Efforts of the Promoter

      The promise of profits must also be “derived from the

entrepreneurial or managerial efforts of others.” Forman, 421


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U.S. at 852. Defendants argue four reasons why Plaintiffs’

allegations fail to establish this prong. First, they offer

that Dapper Labs’s creation of scarcity does not establish

managerial efforts. (Brief at 22-23.) Second, they argue that

Plaintiffs’ “hype” allegations fall short. (Id. at 24-25.)

Third, Defendants assert that Dapper Labs’s creation of the

Marketplace does not establish the efforts of others prong.

(Id. at 25-26.) And fourth, Defendants argue that where a

plaintiff maintains control over the instrument, the efforts

of others prong cannot be met. (Id. at 26-28.) None of these

arguments is persuasive.

        In fact, Defendants concede the necessary element in

their opening paragraph. And that element is dispositive

here.     Defendants   state    that       “[t]he   law   requires   []

that . . . the     efforts     of    the    promoters . . . must     be

necessary to the success of the venture, such that without

them, the ‘investments would be virtually worthless.’” (Brief

at 21 (citing Bender v. Cont’l Towers Ltd. P’Ship, 632 F.

Supp. 497, 501 (S.D.N.Y. 1986)).) That element is plausibly

alleged and persuasively argued by Plaintiffs here.

        As detailed above, it is plausible that Moments’ value

is derived almost entirely from the continued operation by

Dapper Labs of the Flow Blockchain, which enables price

transparency (and thus influences value) but, perhaps more


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critically, appears to provide purchasers with the ability to

trade    at   all.   Defendants’     failure    to    acknowledge     the

blockchain technology that underlies Moments is fatal to

their Motion in this respect. Without Dapper Labs’s continued

maintenance of the Flow Blockchain and the “token that powers

it all,” FLOW, Plaintiffs’ AC plausibly alleges that Moments

would have no value. (See, e.g., AC ¶¶ 86, 89, 106; see also

NBA Top Shot Terms of Use §§ 2(vi), 9(i) & 9(v) (stating that

Moments have “no inherent or intrinsic value”).) And because

Moments can be purchased only from NBA Top Shot in packs, or

traded on the Marketplace that Dapper Labs controls, 13 Dapper

Labs’s   continued     management    and   efforts    to   develop    the




13 Defendants’ assertion that Moments can be traded off the Marketplace
is not well supported and does not undermine Plaintiffs’ allegations,
which the Court accepts as true. Defendants point to the Sports
Illustrated article as supporting this claim, but the article’s reference
to purchasers buying unopened packs from third parties does not refute
the allegation that the packs would have been transferred over the
Marketplace. (See Zatlin Decl. Ex. 2 at 6.) The NBA Top Shot Terms of Use
also states that purchasers “can purchase Moments in two ways: (a) by
buying packs of Moments from us on the App (each, a ‘Pack’); or (b) by
buying Moments from other users in the App’s marketplace (the
‘Marketplace’).” (NBA Top Shot Terms of Use § 2(ii).) Further, even if
the packs were transferred outside of the Marketplace, the AC plausibly
alleges that the transactions would necessarily be recorded, i.e.,
validated, on the Flow Blockchain, which only Dapper Labs controls. (See
AC ¶ 20, 37-38, 49; see also NBA Top Shot Terms of Use §§ 4(i) (“Ownership
of the Moment is mediated entirely by the Flow Network.”), 9(iii) (“The
App does not store, send, or receive Moments. This is because Moments
exist only by virtue of the ownership record maintained on the App’s
supporting blockchain in the Flow [N]etwork. Any transfer of Moments
occurs within the supporting blockchain in the Flow [N]etwork, and not on
the App.”).) Either way, the question presents a factual issue not suited
for resolution on a motion to dismiss.



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ecosystem, both technologically and as a matter of promotion,

are crucial to Moments retaining and increasing in value.

       In that respect, Plaintiffs’ reliance on Gary Plastic

Packaging Corp v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,

756 F.2d 230 (2d Cir. 1985) and Kik is persuasive. In Gary

Plastic, the Second Circuit held that “a significant portion

of the customer’s investment depend[ed] on Merrill Lynch’s

managerial and financial expertise.” 756 F.2d at 240. This

was based on Merrill Lynch’s provision of “a secondary market”

and their ability to, within that market, “cultivat[e] a large

group of banks that desire to borrow money.” Id. So too here,

Dapper Labs has created (and controls) a secondary market,

the Marketplace. Plaintiffs allege the Marketplace is the

only   place   Moments   can   be    traded.    And   Plaintiffs   also

plausibly allege that the value of Moments in the secondary

market depends upon Dapper Labs’s ability to maintain hype

and keep purchasers interested in buying and trading Moments.

For example, Plaintiffs allege that Dapper Labs’s decisions

to “give packs away” has caused the “scarcity, and therefore

value,” of Moments to decline. (AC ¶ 99.) Likewise, the Sports

Illustrated    article    incorporated     by    reference   contains

statements that support the conclusion that profits depended

on the managerial efforts of Dapper Labs. As previously

discussed, in February 2021 “trading was halted [by Dapper


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Labs] for hours at a time” on the Marketplace, “leading to a

sharp drop in the prices of [M]oments.” (Zatlin Decl. Ex. 2

at 7.)

     There are other similarities with the scheme in Gary

Plastic that also justify the Court’s conclusion. The Second

Circuit illustrated in Gary Plastic that customers’ reliance

on Merrill Lynch was evidenced by the fact that if “Merrill

Lynch were to become insolvent and investors were unable to

sell their [certificates of deposit] in the secondary market

[that Merrill Lynch created], they would lose . . . liquidity

and capital appreciation.” Gary Plastic, 756 F.2d at 240.

Likewise, as discussed above, Plaintiffs allege that Moments’

value relates to Dapper Labs’s continued success of the Flow

Blockchain. (AC ¶ 86.) Like Merrill Lynch, if Dapper Labs

became insolvent and purchasers were unable to trade their

Moments on the Marketplace, purchasers would lose the value

of their Moments.

     The court in Kik reached similar conclusions -- that a

company’s efforts to develop and maintain an ecosystem for

trading sufficiently establishes the third Howey prong. In

Kik, the court found that the value of the crypto token, Kin,

“would rely heavily on Kik’s entrepreneurial and managerial

efforts” because of a “promised digital ecosystem” where Kin

would be integrated to drive engagement. Kik, 492 F. Supp. 3d


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at 180. The court concluded that “[t]hese efforts by Kik were

crucial because without the promised digital ecosystem, Kin

would be worthless.” Id.

      Likewise, Dapper Labs’s implicit promise to maintain the

Flow Blockchain and facilitate trades on the Marketplace

drive Moments’ value. And the Court is not persuaded by

Defendants’ quarrel with the lack of explicit promises by

Dapper Labs to purchasers to “maintain a certain level of

consumer interest or guarantee profits” to purchasers in the

AC.   (Brief   at   24.)   These   are   the   very   disclosures    that

Plaintiffs seek through this action. What’s more, Defendants’

argument   that     “Dapper’s   marketing      efforts    would   have   no

effect on the value of the basketball cards being sold,

because each card has an inherent worth” is contradicted by

Dapper Labs’s Terms of Use for the NBA Top Shot application,

which repeats four times that Moments have “no inherent or

intrinsic value.” (NBA Top Shot Terms of Use §§ 2(vi), 9(i)

(repeated twice) & 9(v).)

      As   explained    in   the   Verge    article      incorporated    by

reference in the AC, Dapper Labs’s provision of the Flow

Blockchain makes it “possible for outside observers to track

when specific Moments began to take off in value.” (Zatlin

Decl. Ex. 1 at 18.) Plaintiffs plausibly allege that Moments

would be worth far less without the price transparency and


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trust that the Flow Blockchain enables as well as Dapper

Labs’s facilitation of trading on the Flow Blockchain via the

Marketplace. Compare Kik, 492 F. Supp. 3d at 180 (“Unlike

real estate, Kin have no inherent value and will generate no

profit absent an ecosystem that drives demand.”), with e.g.,

(NBA Top Shot Terms of Use § 2(vi) (conceding that “Each

Moment     has     no     inherent    or      intrinsic     value”)).     The

circumstances here are more like Kin and less like physical

basketball cards. And as Plaintiffs allege, while Moments

purchasers may “own” the NFT (or line of code that indicates

ownership on the blockchain) they have no rights to the

underlying intellectual property the NFT depicts. (AC ¶ 55.)

To that end, purchasers rely on Dapper Labs’s managerial

efforts in cultivating the Marketplace and maintaining the

Flow Blockchain, as without those efforts Moments would not

exist. (See NBA Top Shot Terms of Use § 7 (explaining that

“Moments are intangible digital assets that exist only by

virtue    of     the    ownership    record    maintained    in   the    Flow

Network”).)

         While true that some market forces outside of Dapper

Labs’s control may influence the price of Moments, such as an

NBA   player’s     popularity,       Defendants’    “insistence     in   its

briefs that ‘market forces’ would drive the value of [Moments]

ignores the essential role of [Dapper Labs] in establishing


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the market.” Kik, 492 F. Supp. 3d at 180. Besides, the

presence of external market forces should not be dispositive

of whether a scheme is or is not a security. One need not

look further than the recent GameStop trading frenzy, where

stock prices surged despite the company being on the verge of

bankruptcy, to realize that even the value of stock -- a

quintessential security -- is not necessarily tied only to a

company’s fundamentals. (See Opposition at 6; Zatlin Decl.

Ex. 2.)

        The Court is also not persuaded by Defendants’ appeal to

a purchaser’s control over their portfolio. Defendants argue

that “where there is a reasonable expectation of significant

investor control, the protection of the 1933 and 1934 Acts

would be unnecessary.” (Brief at 27 (citation omitted).) They

assert    that   because    purchasers    “own    the    underlying    NFT

completely” and “have the right to swap their Moment, sell

it, or give it away,” Plaintiffs cannot establish the efforts

of others prong. Defendants’ argument is belied by their own

citation. In support for their proposition, Defendants rely

on the Ninth Circuit case Hocking v. Dubois, which held that

where     a   purchaser    “maintains     legal    control     over    his

investment     . . . in    order   to   claim    the    investment    is   a

security he must show practical dependence, an inability to




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exercise meaningful powers of control.” 885 F.2d 1449, 1460

(9th Cir. 1989) (en banc).

     Plaintiffs    have    plausibly           alleged    that   they   have

practical dependence on Dapper Labs. Dapper Labs maintains

control   over   the    purchaser’s       ability    to    trade   Moments,

including via the statement that Dapper Labs has, in the past,

halted trading on the Marketplace. (Zatlin Decl. Ex. 2 at 4,

7.) Dapper Labs and the NBA and NBAPA also maintain complete

control over the underlying intellectual property represented

in the Moments. And Dapper Labs maintains control over the

Marketplace. As was the case in ATBCOIN LLC, it is plausible

that the “failure of [the Flow Blockchain and Marketplace]

technology     [would   be]   likely       to . . . render         [Moments]

undesirable,     regardless    of        the     individual      purchaser’s

‘business skills.’” 380 F. Supp. 3d at 356. Together with

Dapper Labs’s other control, the Court is not persuaded that

purchasers’ mere ability to choose when to buy or sell is

dispositive. See Kik, 492 F. Supp. 3d at 179 (“[T]he facts

that [] purchasers could sell their Kin whenever they pleased

is not dispositive.”).

     Other than generally stating that purchasers are not

“passive” because they can select which Moments to buy and

when to trade them, Defendants do not explain how that form

of control creates Moments’ value. Rather, the type of control


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the securities laws appear to care about is control over

management of the scheme itself, and that control must be

significant. See Leonard, 529 F.3d at 89 (assessing LLC

membership interests as securities based on the extent to

which “members were expected to play an active role in the

management of the companies”); Aqua-Sonic Prods. Corp., 687

F.2d at 585 (“If . . . the reasonable expectation was one of

significant investor control, a reasonable purchaser could be

expected to make his own investigation of the new business he

planned to undertake and the protection of the 1933 and 1934

Acts would be unnecessary.”) Dapper Labs’s Terms of Use for

Top Shots limits purchasers’ control over the enterprise

itself. Like those who invested and expected the Howey Company

to care for and cultivate the citrus trees in Howey, Moments

purchasers    “lack   the    knowledge,    skill,    and   equipment

necessary for the care and cultivation of” a blockchain and

thus would not be expected to exercise control over the value

creating proposition here. Howey, 328 U.S. at 296. The Terms

of Use also contain a multitude of restrictions on where

Moments can be sold (only in the Flow Network and on the Flow

Blockchain) as well as restrictions on the permitted uses for

Moments once “owned.” (See generally NBA Top Shot Terms of

Use § 3.) Accordingly, the Court is hard-pressed to find that

purchasers exercise any significant control over the ability


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to create value for Moments separate from Dapper Labs and

rejects Defendants’ arguments on these grounds.

     The allegations that Dapper Labs created and maintains

a   private     blockchain      is     fundamental        to   the    Court’s

conclusion. By privatizing the blockchain on which Moments’

value depends and restricting the trade of Moments to only

the Flow Blockchain, purchasers must rely on Dapper Labs’s

expertise and managerial efforts, as well as its continued

success and existence. As Plaintiffs allege, this is unlike

public    blockchains,        such    as   that     underlying       Bitcoin.

(AC ¶¶ 23,     84.)   The    privatization       and   restrictions      that

Dapper Labs implements are what distinguish Moments from

cardboard basketball cards, which can be freely alienated to

whomever and over whatever platform the owner prefers. Thus,

the Court finds that Plaintiffs have adequately alleged that

the promise of profit was based on the essential managerial

efforts   of   Dapper       Labs,    and   the    final    Howey     prong   is

established here.

                                     * * * * *

     Ultimately, the Court’s conclusion that what Dapper Labs

offered was an investment contract under Howey is narrow. Not

all NFTs offered or sold by any company will constitute a

security, and each scheme must be assessed on a case-by-case

basis. Cf. Reves v. Ernst & Young, 494 U.S. 56, 62 (1990) (“A


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commitment to an examination of the economic realities of a

transaction         does   not     necessarily      entail    a    case-by-case

analysis of every instrument.”) Rather, it is the particular

scheme by which Dapper Labs offers Moments that creates the

sufficient legal relationship between investor and promoter

to establish an investment contract, and thus a security,

under Howey. And that legal relationship is derived primarily

from the plausible allegations that Dapper Labs maintains

private       control        over         the   Flow     Blockchain,           which

significantly, if not entirely, dictates Moments’ use and

value;    that      Dapper    Labs    touted     Moments     as    a    means    for

purchasers to realize substantial profits through the low

sale prices for packs and marketing of the substantial profits

others had made through sale on Dapper Labs’s proprietary

Marketplace; and that without Dapper Labs’s essential efforts

in maintaining the Flow Blockchain and Marketplace, Moments

would be valueless. In totality, the economic realities of

this   case    support       the    Court’s     conclusion    that       the    AC’s

allegations pass muster at this stage. In sum, Plaintiffs

adequately     allege      that     Dapper      Labs’s   offer     of    the    NFT,

Moments,      was    an    offer     of    an   “investment       contract”      and




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therefore a “security,” required to be registered with the

SEC. See Aqua-Sonic Prods. Corp., 687 F.2d at 585.

       B.       CONTROL PERSON LIABILITY

       Defendants’ only argument for dismissal of the Section

15     control     person      claims     against      Gharegozlou       is    that

Plaintiffs       have    not    alleged        a   primary   violation    of    the

Securities Act. (Brief at 30.) As the Court concludes that

Plaintiffs have sufficiently alleged primary liability under

Sections 5 and 12 of the Securities Act, the Court also finds

that    Plaintiffs       have    sufficiently         alleged    violations     of

Section 15 and denies Defendants’ motion to dismiss on that

ground.

                                   IV.     ORDER

       For the reasons discussed above, it is hereby

       ORDERED that the motion (Dkt. No. 37) of Dapper Labs

Inc.     and     Roham   Gharegozlou           (together,     “Defendants”)     to

dismiss        Plaintiffs’      Amended        Complaint     pursuant    to    Rule

12(b)(6) of the Federal Rules of Civil Procedure is DENIED.

Defendants are directed to Answer within twenty-one (21) days

of the date of this Order.

       SO ORDERED.

Dated:          22 February 2023
                New York, New York
                                                     _________________________
                                                          Victor Marrero
                                                             U.S.D.J.



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